                                  UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF TENNESSEE
                                         NASHVILLE DIVISION

   In re:                                          §    Case No. 12-02332
                                                   §
   BRI BUSINESS SERVICES, INC.                     §
                                                   §
                                                   §
                       Debtor(s)                   §

            CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
            CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                       AND APPLICATION TO BE DISCHARGED (TDR)

           Eva M. Lemeh, chapter 7 trustee, submits this Final Account, Certification that the
   Estate has been Fully Administered and Application to be Discharged.

        1)       All funds on hand have been distributed in accordance with the Trustee’s Final
 Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
 administered and all assets and funds which have come under the trustee’s control in this case
 have been properly accounted for as provided by law. The trustee hereby requests to be
 discharged from further duties as a trustee.

        2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
 claims discharged without payment, and expenses of administration is provided below:



 Assets Abandoned:             $12,017,917.62          Assets Exempt:       NA
 (without deducting any secured claims)



 Total Distributions to                                Claims Discharged
 Claimants:                        $1,167,294.82       Without Payment:     NA

 Total Expenses of
 Administration:                   $173,385.34


         3)      Total gross receipts of $1,340,680.16 (see Exhibit 1), minus funds paid to the
 debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $1,340,680.16 from
 the liquidation of the property of the estate, which was distributed as follows:




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                                     CLAIMS            CLAIMS             CLAIMS              CLAIMS
                                   SCHEDULED          ASSERTED           ALLOWED               PAID
   Secured Claims
   (from Exhibit 3)                 $2,500,000.00    $2,639,668.61               $0.00               $0.00
   Priority Claims:
       Chapter 7 Admin.
       Fees and Charges                         NA     $160,121.62        $160,121.62         $173,385.34
        (from Exhibit 4)
       Prior Chapter Admin.
       Fees and Charges                         NA             $0.00             $0.00               $0.00
       (from Exhibit 5)
       Priority Unsecured
       Claims                                $0.00        $3,479.61          $3,479.61          $3,479.61
       (From Exhibit 6)
   General Unsecured
   Claims (from Exhibit 7)          $1,042,500.00    $3,981,519.13       $1,311,046.59      $1,163,815.21

     Total Disbursements            $3,542,500.00    $6,784,788.97       $1,474,647.82      $1,340,680.16

        4). This case was originally filed under chapter 11 on 03/09/2012. The case was
   converted to one under Chapter 7 on 08/23/2012. The case was pending for 20 months.

        5). All estate bank statements, deposit slips, and canceled checks have been submitted to
   the United States Trustee.

         6). An individual estate property record and report showing the final accounting of the
   assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
   each estate bank account, showing the final accounting of the receipts and disbursements of
   estate funds is attached as Exhibit 9.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
   foregoing report is true and correct.

          Dated: 04/02/2014                              By:    /s/ Eva M. Lemeh
                                                         /Ev    Trustee
                                                         a
                                                         M.
                                                         Le
                                                         me
                                                         h
   STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
   Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                   EXHIBITS TO
                                                  FINAL ACCOUNT

  EXHIBIT 1 – GROSS RECEIPTS

                         DESCRIPTION                                        UNIFORM                         AMOUNT
                                                                           TRAN. CODE                      RECEIVED
 money held by neal & harwell for the benefit of bank of america            1229-000                      $1,300,000.00
 Interest Earned                                                            1270-000                           $899.72
 funds held by attorney for Steve Rawlins turned over per agreed            1290-000                         $4,163.00
 order authorizing turnover of funds entered 03/13/13
 balance of retainer held in escrow by debtor's counsel                     1290-010                        $25,189.30
 funds held by debtor's attorney pursuant to the Fifth Agreed               1290-010                        $10,428.14
 Cash Collateral Order- in May 2012, BRI was required to tra
 TOTAL GROSS RECEIPTS                                                                                     $1,340,680.16

  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

  EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
  NONE


  EXHIBIT 3 – SECURED CLAIMS

  CLAIM            CLAIMANT          UNIFORM                 CLAIMS            CLAIMS   CLAIMS               CLAIMS
 NUMBER                             TRAN. CODE            SCHEDULED          ASSERTED ALLOWED                  PAID
      4        Bank of America,        4210-000           $2,500,000.00 $2,639,668.61             $0.00            $0.00
               N.A.
               DEX Imaging &           4210-000                    $0.00             $0.00        $0.00            $0.00
               Mailing
 TOTAL SECURED CLAIMS                                     $2,500,000.00 $2,639,668.61             $0.00            $0.00


  EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

          PAYEE             UNIFORM                   CLAIMS   CLAIMS                     CLAIMS             CLAIMS
                           TRAN. CODE              SCHEDULED ASSERTED                   ALLOWED                PAID
 Eva M. Lemeh,                2100-000                          NA    $63,470.40         $63,470.40         $63,470.40
 Trustee
 Eva M. Lemeh,                2200-000                          NA           $6.64             $6.64               $6.64
 Trustee
 Pinnacle Bank                2600-000                          NA         $881.28           $881.28           $881.28
 U.S. BANKRUPTCY              2700-000                          NA         $879.00           $879.00           $879.00
 COURT CLERK
 JOHN H.                      2990-000                          NA         $229.14           $229.14           $229.14
 HELDRETH &
 ASSOCIATES
 EVA M. LEMEH,                3110-000                          NA    $14,355.50         $14,355.50         $14,355.50
 ESQUIRE, Attorney
 for Trustee
 EVA M. LEMEH,                3120-000                          NA         $299.66           $299.66           $299.66
 ESQUIRE, Attorney
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 for Trustee
 FROST BROWN                   3210-000                   NA       $80,000.00           $80,000.00        $80,000.00
 TODD, LLC,
 Attorney for Trustee
 Garfinkle, McLemore           3210-000                   NA            $0.00                $0.00        $13,000.00
 & Young, PLLC,
 Attorney for Trustee
 Garfinkle, McLemore           3220-000                   NA            $0.00                $0.00           $263.72
 & Young, PLLC,
 Attorney for Trustee
 TOTAL CHAPTER 7 ADMIN. FEES AND                          NA   $160,121.62          $160,121.62          $173,385.34
 CHARGES


  EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
  NONE


  EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

  CLAIM          CLAIMANT            UNIFORM           CLAIMS            CLAIMS   CLAIMS                   CLAIMS
 NUMBER                             TRAN. CODE      SCHEDULED          ASSERTED ALLOWED                      PAID
      8        Tennessee              5800-000               $0.00         $446.86            $446.86        $446.86
               Department of
               Revenue
      9        Tennessee              5800-000               $0.00         $686.69            $686.69        $686.69
               Department of
               Revenue
      10       Tennessee              5800-000               $0.00        $2,346.06         $2,346.06      $2,346.06
               Department of
               Revenue
 TOTAL PRIORITY UNSECURED CLAIMS                             $0.00        $3,479.61         $3,479.61      $3,479.61


  EXHIBIT 7 – GENERAL UNSECURED CLAIMS

  CLAIM          CLAIMANT           UNIFORM          CLAIMS             CLAIMS              CLAIMS           CLAIMS
 NUMBER                            TRAN. CODE     SCHEDULED           ASSERTED            ALLOWED              PAID
      1        FIA CARD              7100-000             $0.00         $70,472.54               $0.00           $0.00
               SERVICES, N.A.
      2        FleetCor              7100-000             $0.00          $6,648.00           $6,648.00       $5,901.43
               Technologies
      3        Key Equipment         7100-000             $0.00          $4,368.59           $4,368.59       $3,877.99
               Finance Inc.
      5        Mario Guddemi         7100-000             $0.00      $1,300,000.00               $0.00           $0.00
      6        The Happy             7100-000             $0.00      $1,300,000.00       $1,300,000.00    $1,154,009.16
               Ending, LLC
      7        Sal Aurora            7100-000             $0.00      $1,300,000.00               $0.00           $0.00
     8-1       Tennessee             7100-000             $0.00            $30.00               $30.00          $26.63
               Department of
               Revenue
               Bettencourt, Inc.     7100-000      $1,000,000.00                $0.00            $0.00           $0.00
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               Cypress Group       7100-000        $35,000.00           $0.00           $0.00            $0.00
               G&G Enterprises     7100-000             $0.00           $0.00           $0.00            $0.00
               Rob Drexler         7100-000         $7,500.00           $0.00           $0.00            $0.00
               Rodgers/Welch       7100-000             $0.00           $0.00           $0.00            $0.00
               Venture
               TSW, Inc.           7100-000             $0.00           $0.00           $0.00            $0.00
 TOTAL GENERAL UNSECURED CLAIMS                  $1,042,500.00   $3,981,519.13   $1,311,046.59    $1,163,815.21




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                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                            Page No:     1                    Exhibit 8
                                                                                     ASSET CASES

Case No.:                      12-02332                                                                                                   Trustee Name:                             Eva M. Lemeh
Case Name:                     BRI BUSINESS SERVICES, INC.                                                                                Date Filed (f) or Converted (c):          08/23/2012 (c)
For the Period Ending:         4/2/2014                                                                                                   §341(a) Meeting Date:                     10/01/2012
                                                                                                                                          Claims Bar Date:                          12/31/2012

                                   1                                    2                       3                                 4                        5                                         6

                          Asset Description                           Petition/          Estimated Net Value                   Property              Sales/Funds              Asset Fully Administered (FA)/
                           (Scheduled and                           Unscheduled         (Value Determined by                 Abandoned               Received by             Gross Value of Remaining Assets
                      Unscheduled (u) Property)                        Value                   Trustee,                  OA =§ 554(a) abandon.        the Estate
                                                                                       Less Liens, Exemptions,
                                                                                          and Other Costs)

 Ref. #
1       Green Bank (approximately $46,000.00) -                         $56,000.00                               $0.00                                           $0.00                                         FA
        Nashville Chase bank (approximately
        $10,000.00) - Los Angeles
2       Trade Accounts Receivable, various BRI offices                $5,951,917.62                              $0.00                                           $0.00                                         FA
3        Software masters (value approximated)                        $6,000,000.00                              $0.00                                           $0.00                                         FA
4        customer lists-maintained by multiple BRI                             $0.00                             $0.00                                           $0.00                                         FA
         offices
5        Various computer and office equipment                          $10,000.00                               $0.00                                           $0.00                                         FA
6        money held by neal & harwell for the benefit of      (u)              $0.00                  $1,300,000.00                                    $1,300,000.00                                           FA
         bank of america
7        balance of retainer held in escrow by debtor's       (u)              $0.00                     $25,189.30                                       $25,189.30                                           FA
         counsel
8        funds held by debtor's attorney pursuant to the      (u)              $0.00                     $10,418.00                                       $10,428.14                                           FA
         Fifth Agreed Cash Collateral Order- in May
         2012, BRI was required to transfer all of its cash
         on hand to its attorney's escrow account pending
         further court order
9        funds held by attorney for Steve Rawlins turned      (u)              $0.00                      $4,163.00                                        $4,163.00                                           FA
         over per agreed order authorizing turnover of
         funds entered 03/13/13
INT      Interest Earned                                      (u)           Unknown                       Unknown                                              $899.72                                         FA


TOTALS (Excluding unknown value)                                                                                                                                                 Gross Value of Remaining Assets
                                                                     $12,017,917.62                   $1,339,770.30                                     $1,340,680.16                                      $0.00



      Major Activities affecting case closing:



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Case No.:                    12-02332                                                                                                                         Trustee Name:                               Eva M. Lemeh
Case Name:                   BRI BUSINESS SERVICES, INC.                                                                                                      Date Filed (f) or Converted (c):            08/23/2012 (c)
For the Period Ending:       4/2/2014                                                                                                                         §341(a) Meeting Date:                       10/01/2012
                                                                                                                                                              Claims Bar Date:                            12/31/2012

                                 1                                                 2                             3                                   4                          5                                          6

                        Asset Description                                        Petition/               Estimated Net Value                     Property                  Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                                        Unscheduled              (Value Determined by                   Abandoned                   Received by             Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                     Value                        Trustee,                    OA =§ 554(a) abandon.            the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

      Email sent to Robert Mendes rmendes@fbtlaw.com:
      Please have the DIP account closed, send the balance to Eva M. Lemeh, Trustee at 4300 Kings Lane, Nashville, TN 37218, and the last bank statement – all immediately.


      Additionally, provide Eva with the following:


      1.    Contact numbers for the principal.
      2.    3-years of tax returns.
      3.    1-year of bank statements for all accounts.
      4.    A time table for Eva to pick up all books and records.
      -dp
      look at claim for 1million for Bettencourt, Inc.-may be an insider-eml
      File motion to employ attorney Lemeh -dp.
      Tcw jim Kelly-he deposed rawlings twice will send me depos; sue neal and harwell and BOA-serve jim for both parties for the 1,300,000 paid by debtor last week-jim’s email is
      jkelley@nealharwell.com
      Draft adversary, cover sheet and exhibits to Eva -dp.
      Email to gdunham@fbtlaw.com to file ch7 conv s/s -dp.
      Frost, Brown & Todd filed a motion to withdraw as attorney -dp.
      tcw franklin palm of Blackstone resources services, inc in los angeles 310-770-2906;said i would take offered him 3.5 instead of 1.5 to settle
      Black Stone Comp and Settle draft to Eva -dp.
      Email to Eva on amounts owed by debtor to G&G Enterprises, Key Equipment and Rodgers/Welch Venture -dp.
      workinf daily to settle claim debtor/rawling has with a studio in los angeles to repay 7 million back to debtor/rawlings of money rawlings invested in a movie; franklin palm says he will
      have answer for me monday 09/24/12-eml
      Mr Rawlins called and confirmed he will be at moc on 10/1 at 12:30pm -dp.
      Filed 3:12-ap-90552 v. Boa/Neal Harwell -dp.
      Served 12-ap-90552 v. Boa/Neal Harwell Complaint and Summons on defendants/afsops. Filed cos on summons -dp.
      Searched California SOS for Bettencourt, Inc - results to Eva -dp.
      Email to Larry Williams with Boa/Neal & Harwell complaint -dp.
      Filed motion to employ accountant -dp.
      Left voicemail on Steve Rawlins cell 642-1154 for AR addresses -dp.
      Mr. Rawlins called back in pm and left voicemail; which AR's do I want? I called him back on his cell and left voicemail that we want all AR's name/mailing address/any attn & amount
      due for any that have balances due. If what he sends omits some of the ones I have, then I'll call him back. He is out of town, so will be approx 48 hours for list. I left him my email
      address dpolston.lemehtrustee@comcast.net. Mr. Rawlins called again and I will send him an email in the a.m. with our request. -dp.
                                       Case -dp.
      Email to Mr. Rawlins for A/R information   3:12-bk-02332 Doc 243 Filed 05/08/14 Entered 05/08/14 15:26:03 Desc Main
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Case No.:                    12-02332                                                                                                                        Trustee Name:                               Eva M. Lemeh
Case Name:                   BRI BUSINESS SERVICES, INC.                                                                                                     Date Filed (f) or Converted (c):            08/23/2012 (c)
For the Period Ending:       4/2/2014                                                                                                                        §341(a) Meeting Date:                       10/01/2012
                                                                                                                                                             Claims Bar Date:                            12/31/2012

                                 1                                                2                              3                                  4                          5                                          6

                        Asset Description                                     Petition/                  Estimated Net Value                    Property                 Sales/Funds               Asset Fully Administered (FA)/
                         (Scheduled and                                     Unscheduled                 (Value Determined by                  Abandoned                  Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                  Value                           Trustee,                   OA =§ 554(a) abandon.           the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

      Email from Steve Rawlins - will get AR info to us on Tuesday 10/16 -dp.
      O/E for attorney to withdraw. Changed TES to Pro Se -dp.
      Note to Eva (on 10/22 prep vs court) that Rawlins has not sent the A/R info he promised to provide by 10/16. -dp.
      Prepare draft pretrial for 12-ap-90552, to Eva -dp.
      Filed order to employ accountant -dp.
      Email to Eva with draft a/o to continue pretrial and draft judgment on pleadings -dp.
      Filed a/o to continue pretrial conference in 12-ap-90552.
      Filed motion for judgment on pleadings in 12-ap-90552.
      claim 4-boa will be unsecured so allow but do not allow claim 1 because claim 4 includes the credit card balance stated in claim 1; claim 5 disallow beacuse its the same debt claimed in poc
      no. 7-1; claim 6 disallow beacuse its the same debt claimed in poc no. 7-1; look closely at claim 7-1 because money may go back to rawlings which should be contested-eml
      Email to Eva: I did NOT file the order for judgment on pleadings in 12-ap-90552 as docket #10 text says “objection to” -dp.
      Email to Eva on continuing pretrial - response from James Kelly -dp.
      Ch7 Name & Address:
      Steven W. Rawlins
      611 Commerce Street
      The Tower Suite 3127
      Nashville, TN 37203


      From another source:
      Steven Rawlins
      BRI Services, Inc.
      The Tower, Suite 3127
      611 Commerce Street
      Nashville, TN 37203
      Phone 615.242.7100
      Fax 615.242.7900
      Cell 615.642.1154
      Email: srawlins@briservices.com
      Website: http://briservices.com/ (Blackstone Resoures, Inc.)


      Eva: Rawlings phone numbers he has called me from are 712-7578; 642-1154. Franklin palms of blackstone resources llc is 310-770-2906.

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Case No.:                    12-02332                                                                                                                          Trustee Name:                              Eva M. Lemeh
Case Name:                   BRI BUSINESS SERVICES, INC.                                                                                                       Date Filed (f) or Converted (c):           08/23/2012 (c)
For the Period Ending:       4/2/2014                                                                                                                          §341(a) Meeting Date:                      10/01/2012
                                                                                                                                                               Claims Bar Date:                           12/31/2012

                                 1                                                 2                              3                                   4                         5                                          6

                        Asset Description                                      Petition/                  Estimated Net Value                     Property                Sales/Funds               Asset Fully Administered (FA)/
                         (Scheduled and                                      Unscheduled                 (Value Determined by                   Abandoned                 Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                   Value                           Trustee,                    OA =§ 554(a) abandon.          the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

      from EML:
      Spoke to young yesterday and what James Kelly first told me regarding grist brown fees he has now backed off so we will get the fee reduced but it will still be substantial 75-80k . Then
      I have attys fees and boa will amend its poc to be unsecured


      I have yet to send out a/r collection letters because CEO has yet to provide addresses etc. I assume I have to do at least that even though they may be bogus


      So I think I still need to look at an interim distribution and not a final
      Filed 3:13-ap-90038, v. Frost Brown Todd LLC, and cover sheet -dp. Filed withdrawal; will file new Adv per Eva -dp.
      Filed 3:13-ap-90045 v. Frost Brown Todd LLC & Steven W. Rawlins and coversheet -dp.
      13-ap-90045 v. FBT/Rawlins. Prepared/filed certificate of service and mailed complaint/summons to defendants FBT/Rawlins -dp.
      Filed motion to close 12-ap-90552 -dp.
      Filed motion to pay attorney Lemeh and agent Heldreth -dp.
      Draft motion to close 13-ap-90045 to Eva -dp.
      Filed motion to close 13-ap-90045.
      Filed withdrawal of motion to close.
      File motion/order for voluntary dismissal with prejudice -dp.
      Filed orders to pay Heldreth and attorney Lemeh -dp.
      Filed interim distribution and allow/disallow claims -dp.
      Draft interim distribution and allow/disallow claims to Eva -dp.
      Filed amended motion to allow/disallow claims -dp.
      Filed orders to allow/disallow claims and interim distribution -dp.
      Update from Phillip Young: Waiting to hear from debtor's counsel re B of A; Ask Eva if she wants to close case or wait
      principal thru his atty claimed he had 3 million to payout the b'cy several months ago; we have made demand for paymetn and princ. has made numerous reasons why he cnanot pay
      before deadline given-latest is he has to create an entity that wil make the payment; told pyoung to submit his fee app then will prpeare and submit tfr-eml
      tcw shannon to clear up balance of 523.59-pinnacle never moved it into the correct account as i requeted in an email to becky mcmillan ; emailed becky again and requested her to do what
      i asked-eml
      Draft motion to pay attorney Lemeh -dp.
      Filed motion to pay attorney Lemeh -dp.
      paid pyoung; when pay elemeh case ready fro tfr-eml
      filed order to pay lemeh attys fees and exps.; ready fro tfr once order entered-eml
      prepared and emailed tfr and summary to susan at OUST; will hand deliver originals to her fri 11-15-13-eml
      Filed order to pay Trustee -dp.
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                                                                                 FORM 1
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                            Page No:    5                     Exhibit 8
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Case No.:                  12-02332                                                                                                Trustee Name:                             Eva M. Lemeh
Case Name:                 BRI BUSINESS SERVICES, INC.                                                                             Date Filed (f) or Converted (c):          08/23/2012 (c)
For the Period Ending:     4/2/2014                                                                                                §341(a) Meeting Date:                     10/01/2012
                                                                                                                                   Claims Bar Date:                          12/31/2012

                               1                                 2                          3                              4                        5                                         6

                       Asset Description                       Petition/             Estimated Net Value                Property              Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                       Unscheduled            (Value Determined by              Abandoned               Received by             Gross Value of Remaining Assets
                   Unscheduled (u) Property)                    Value                      Trustee,               OA =§ 554(a) abandon.        the Estate
                                                                                   Less Liens, Exemptions,
                                                                                      and Other Costs)

Initial Projected Date Of Final Report (TFR):   12/31/2013                 Current Projected Date Of Final Report (TFR):       12/31/2013               /s/ EVA M. LEMEH
                                                                                                                                                        EVA M. LEMEH




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                                                                                               FORM 2
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-02332                                                                                        Trustee Name:                       Eva M. Lemeh
 Case Name:                       BRI BUSINESS SERVICES, INC.                                                                     Bank Name:                          PINNACLE BANK
Primary Taxpayer ID #:            **-***0748                                                                                      Checking Acct #:                    ******0072
Co-Debtor Taxpayer ID #:                                                                                                          Account Title:
For Period Beginning:             3/9/2012                                                                                        Blanket bond (per case limit):      $12,500,000.00
For Period Ending:                4/2/2014                                                                                        Separate bond (if applicable):

       1                2                                 3                                           4                                                 5                 6                   7

   Transaction       Check /                          Paid to/               Description of Transaction                            Uniform           Deposit        Disbursement           Balance
      Date            Ref. #                       Received From                                                                  Tran Code            $                 $


01/15/2013            (6)      Neal & Harwell, PLC trust account     money held by neal & harwell for the benefit of bank of      1229-000        $1,300,000.00                            $1,300,000.00
                                                                     america
01/18/2013            (7)      Frost Todd Brown LLC                  balance of retainer held in escrow by debtors counsel        1290-010           $25,189.30                            $1,325,189.30
01/22/2013                     Transfer To: #******0088              transfer to money market to get interest                     9999-000                             $1,324,189.30           $1,000.00
02/04/2013                     Pinnacle Bank                         Pinnacle Analysis                                            2600-000                                      $475.57           $524.43
03/04/2013                     Pinnacle Bank                         Pinnacle Analysis                                            2600-000                                        $0.84           $523.59
03/19/2013                     Transfer From: #******0072            to money market                                              9999-000             $523.59                                 $1,047.18
03/19/2013                     Transfer To: #******0088              to money market                                              9999-000                                      $523.59           $523.59
06/03/2013                     Transfer From: #******0088            transfer money from money market to checking account         9999-000         $975,000.00                               $975,523.59
                                                                     to make interim distribtion
06/03/2013           3001      Eva M. Lemeh                          Trustee Compensation                                         2100-000                                $39,999.41         $935,524.18
06/03/2013           3002      Eva M. Lemeh                          Trustee Expenses                                             2200-000                                        $3.27      $935,520.91
06/03/2013           3003      U.S. BANKRUPTCY COURT CLERK            Account Number: ; Claim #: 8; Notes: adversary filing       2700-000                                      $293.00      $935,227.91
                                                                     fee for adversary case no. 12-90552A; Amount Claimed:
                                                                     293.00; Amount Allowed: 293.00; Dividend: 0.03;
                                                                     Distribution Dividend: 100.00;
06/03/2013           3004      FleetCor Technologies                  Account Number: ; Claim #: 2; Notes:                        7100-000                                    $4,739.70      $930,488.21
                                                                     allowed/unsecured; Amount Claimed: 6,648.00; Amount
                                                                     Allowed: 6,648.00; Dividend: 0.48; Distribution
                                                                     Dividend: 71.30;
06/03/2013           3005      Key Equipment Finance Inc.             Account Number: ; Claim #: 3; Notes:                        7100-000                                    $3,114.60      $927,373.61
                                                                     allowed/unsecured; Amount Claimed: 4,368.59; Amount
                                                                     Allowed: 4,368.59; Dividend: 0.31; Distribution
                                                                     Dividend: 71.30;
06/03/2013           3006      The Happy Ending, LLC                  Account Number: ; Claim #: 6; Notes: allow/unsecured;       7100-000                               $926,837.99              $535.62
                                                                     allowing this claim which is one of three claims filed for
                                                                     the very same debt; allowing because corporation so will
                                                                     pay this creditor instead of chosing between the two
                                                                     individuals named in the promi
06/04/2013                     Pinnacle Bank                         Pinnacle Analysis                                            2600-000                                        $0.84           $534.78
                                        Case 3:12-bk-02332         Doc 243 Filed 05/08/14 Entered 05/08/14 15:26:03 Desc Main
                                                                          Document    Page 11 of 16      SUBTOTALS $2,300,712.89                                       $2,300,178.11
                                                                                                                                                                  Page No: 2             Exhibit 9
                                                                                                FORM 2
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-02332                                                                                       Trustee Name:                       Eva M. Lemeh
 Case Name:                       BRI BUSINESS SERVICES, INC.                                                                    Bank Name:                          PINNACLE BANK
Primary Taxpayer ID #:            **-***0748                                                                                     Checking Acct #:                    ******0072
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:
For Period Beginning:             3/9/2012                                                                                       Blanket bond (per case limit):      $12,500,000.00
For Period Ending:                4/2/2014                                                                                       Separate bond (if applicable):

       1                2                                 3                                            4                                              5                  6                   7

   Transaction       Check /                          Paid to/               Description of Transaction                           Uniform           Deposit        Disbursement           Balance
      Date            Ref. #                       Received From                                                                 Tran Code            $                 $


07/02/2013                     Pinnacle Bank                         Pinnacle Analysis                                           2600-000                                      $403.83           $130.95
10/02/2013                     Pinnacle Bank                         Pinnacle Analysis                                           2600-000                                        $0.20           $130.75
10/03/2013                     Transfer To: #******0088              transfer to money market                                    9999-000                                      $130.75               $0.00
01/20/2014                     Transfer From: #******0088            transfer to disburse funds pursuant to tfr                  9999-000         $256,662.78                               $256,662.78
01/20/2014                     Transfer From: #******0088                                                                        9999-000                 $0.11                             $256,662.89
01/20/2014           3007      Eva M. Lemeh                          Trustee Compensation                                        2100-000                                $23,470.99         $233,191.90
01/20/2014           3008      Eva M. Lemeh                          Trustee Expenses                                            2200-000                                        $3.37      $233,188.53
01/20/2014           3009      U.S. BANKRUPTCY COURT CLERK            Account Number: ; Claim #: ; Notes: adversary filing fee   2700-000                                      $586.00      $232,602.53
                                                                     for adversary case no. 12-90552A-paid; adversary case
                                                                     no. 13-ap-90038 and adversary case no. 13-ap-90045;
                                                                     Amount Claimed: 879.00; Amount Allowed: 879.00;
                                                                     Dividend: 0.22; Distribution Dividend: 100
01/20/2014           3010      Tennessee Department of Revenue        Account Number: ; Claim #: 8; Notes: allow/priorty Pre     5800-000                                      $446.86      $232,155.67
                                                                     petition tax claim; Amount Claimed: 446.86; Amount
                                                                     Allowed: 446.86; Dividend: 0.17; Distribution Dividend:
                                                                     100.00;
01/20/2014           3011      Tennessee Department of Revenue        Account Number: ; Claim #: 9; Notes: allow/post            5800-000                                      $686.69      $231,468.98
                                                                     petition priority tax claim; Amount Claimed: 686.69;
                                                                     Amount Allowed: 686.69; Dividend: 0.26; Distribution
                                                                     Dividend: 100.00;
01/20/2014           3012      Tennessee Department of Revenue        Account Number: ; Claim #: 10; Notes: allow/post           5800-000                                    $2,346.06      $229,122.92
                                                                     petition priority tax claim; Amount Claimed: 2,346.06;
                                                                     Amount Allowed: 2,346.06; Dividend: 0.91; Distribution
                                                                     Dividend: 100.00;
01/20/2014           3013      FleetCor Technologies                  Account Number: ; Claim #: 2; Notes:                       7100-000                                    $1,161.73      $227,961.19
                                                                     allowed/unsecured; Amount Claimed: 6,648.00; Amount
                                                                     Allowed: 6,648.00; Dividend: 0.45; Distribution
                                                                     Dividend: 88.77;




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                                                                          Document    Page 12 of 16      SUBTOTALS  $256,662.89                                          $29,236.48
                                                                                                                                                                          Page No: 3             Exhibit 9
                                                                                              FORM 2
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-02332                                                                                              Trustee Name:                         Eva M. Lemeh
 Case Name:                       BRI BUSINESS SERVICES, INC.                                                                           Bank Name:                            PINNACLE BANK
Primary Taxpayer ID #:            **-***0748                                                                                            Checking Acct #:                      ******0072
Co-Debtor Taxpayer ID #:                                                                                                                Account Title:
For Period Beginning:             3/9/2012                                                                                              Blanket bond (per case limit):        $12,500,000.00
For Period Ending:                4/2/2014                                                                                              Separate bond (if applicable):

       1                2                                3                                           4                                                          5                 6                  7

   Transaction       Check /                         Paid to/               Description of Transaction                                   Uniform              Deposit       Disbursement          Balance
      Date            Ref. #                      Received From                                                                         Tran Code               $                $


01/20/2014           3014      Key Equipment Finance Inc.            Account Number: ; Claim #: 3; Notes:                                7100-000                                      $763.39      $227,197.80
                                                                    allowed/unsecured; Amount Claimed: 4,368.59; Amount
                                                                    Allowed: 4,368.59; Dividend: 0.29; Distribution
                                                                    Dividend: 88.77;
01/20/2014           3015      The Happy Ending, LLC                 Account Number: ; Claim #: 6; Notes: allow/unsecured;               7100-000                                $227,171.17             $26.63
                                                                    allowing this claim which is one of three claims filed for
                                                                    the very same debt; allowing because corporation so will
                                                                    pay this creditor instead of chosing between the two
                                                                    individuals named in the promi
01/20/2014           3016      Tennessee Department of Revenue      Account Number: ; Claim #: 8; Notes: allow/unsecured;                7100-000                                       $26.63               $0.00
                                                                    Amount Claimed: 30.00; Amount Allowed: 30.00;
                                                                    Dividend: 0.01; Distribution Dividend: 88.77;

                                                                                       TOTALS:                                                           $2,557,375.78         $2,557,375.78                 $0.00
                                                                                           Less: Bank transfers/CDs                                      $1,232,186.48         $1,324,843.64
                                                                                       Subtotal                                                          $1,325,189.30         $1,232,532.14
                                                                                           Less: Payments to debtors                                             $0.00                 $0.00
                                                                                       Net                                                               $1,325,189.30         $1,232,532.14



                     For the period of 3/9/2012 to 4/2/2014                                                          For the entire history of the account between 09/05/2012 to 4/2/2014

                     Total Compensable Receipts:                   $1,325,189.30                                     Total Compensable Receipts:                             $1,325,189.30
                     Total Non-Compensable Receipts:                       $0.00                                     Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                 $1,325,189.30                                     Total Comp/Non Comp Receipts:                           $1,325,189.30
                     Total Internal/Transfer Receipts:             $1,232,186.48                                     Total Internal/Transfer Receipts:                       $1,232,186.48


                     Total Compensable Disbursements:              $1,232,532.14                                     Total Compensable Disbursements:                        $1,232,532.14
                     Total Non-Compensable Disbursements:                  $0.00                                     Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:            $1,232,532.14                                     Total Comp/Non Comp Disbursements:                      $1,232,532.14
                     Total Internal/Transfer Disbursements:        $1,324,843.64                                     Total Internal/Transfer Disbursements:                  $1,324,843.64




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                                                                                                                                                                 Page No: 4             Exhibit 9
                                                                                                FORM 2
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-02332                                                                                      Trustee Name:                       Eva M. Lemeh
 Case Name:                       BRI BUSINESS SERVICES, INC.                                                                   Bank Name:                          PINNACLE BANK
Primary Taxpayer ID #:            **-***0748                                                                                    Money Market Acct #:                ******0088
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:
For Period Beginning:             3/9/2012                                                                                      Blanket bond (per case limit):      $12,500,000.00
For Period Ending:                4/2/2014                                                                                      Separate bond (if applicable):

       1                2                                 3                                           4                                              5                  6                   7

   Transaction       Check /                          Paid to/               Description of Transaction                          Uniform           Deposit        Disbursement           Balance
      Date            Ref. #                       Received From                                                                Tran Code            $                 $


01/22/2013                     Transfer From: #******0072            transfer to money market to get interest                   9999-000        $1,324,189.30                            $1,324,189.30
01/23/2013           2001      FROST BROWN TODD, LLC                 PAY ATTORNEYS FEES AND EXPENSES PER                        3210-000                                $80,000.00       $1,244,189.30
                                                                     ORDER ENTERED 01/23/13
01/31/2013           (INT)     Pinnacle National Bank                Interest Pad January 31, 2013                              1270-000              $47.99                             $1,244,237.29
02/28/2013           (INT)     Pinnacle Bank                         Interest for February                                      1270-000             $143.17                             $1,244,380.46
03/19/2013            (8)      FROST BROWN TODD                      cash collateral                                            1290-010          $10,428.14                             $1,254,808.60
03/19/2013            (9)      FROST BROWN TODD                      funds held by attorney for Steve Rawlins turned over per   1290-000           $4,163.00                             $1,258,971.60
                                                                     agreed order authorizing turnover of funds entered
                                                                     03/13/13
03/29/2013           (INT)     Pinnacle Bank                         Interest for March                                         1270-000             $148.30                             $1,259,119.90
04/15/2013           2002      JOHN H. HELDRETH & ASSOCIATES         fees 180; exps 49.14 per order entered on 04/12/13         2990-000                                      $229.14    $1,258,890.76
04/15/2013           2003      EVA M. LEMEH, ESQUIRE                 attorneys fees per order entered 04/12/13                  3110-000                                $12,637.50       $1,246,253.26
04/15/2013           2004      EVA M. LEMEH, ESQUIRE                 attorney expenses per order entered 04/12/13               3120-000                                      $129.80    $1,246,123.46
04/30/2013           (INT)     Pinnacle Bank                         Interest Posting                                           1270-000             $163.84                             $1,246,287.30
05/17/2013           2005      Garfinkle, McLemore & Young, PLLC     pay atty's fees per order entered 03/29/13                 3210-000                                    $8,375.00    $1,237,912.30
05/17/2013           2006      Garfinkle, McLemore & Young, PLLC     pay atty's exps per order entered 03/29/13                 3220-000                                      $263.72    $1,237,648.58
05/31/2013           (INT)     Pinnacle Bank                         Interest Posting                                           1270-000             $158.35                             $1,237,806.93
06/03/2013                     Transfer To: #******0072              transfer money from money market to checking account       9999-000                               $975,000.00         $262,806.93
                                                                     to make interim distribtion
06/28/2013           (INT)     Pinnacle Bank                         Interest Posting                                           1270-000              $38.25                               $262,845.18
07/31/2013           (INT)     Pinnacle Bank                         Interest Posting                                           1270-000              $35.65                               $262,880.83
08/30/2013           (INT)     Pinnacle Bank                         Interest Posting                                           1270-000              $32.41                               $262,913.24
09/30/2013           (INT)     Pinnacle                              Interest Posting                                           1270-000              $33.49                               $262,946.73
10/03/2013                     Transfer From: #******0072            transfer to money market                                   9999-000             $130.75                               $263,077.48
10/31/2013           (INT)     Pinnacle                              Interest Posting                                           1270-000              $33.51                               $263,110.99
11/06/2013           2007      Garfinkle, McLemore & Young, PLLC     pay attys fees per order entered 11/06/13                  3210-000                                    $4,625.00      $258,485.99
11/12/2013           2008      EVA M. LEMEH, ESQUIRE                 pay attys fees per order entered 11/12/13                  3110-000                                    $1,718.00      $256,767.99
11/12/2013           2009      EVA M. LEMEH, ESQUIRE                 pay attys expes per order entered 11/12/13                 3120-000                                      $169.86      $256,598.13
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                                                                          Document    Page 14 of 16      SUBTOTALS $1,339,746.15                                     $1,083,148.02
                                                                                                                                                                       Page No: 5           Exhibit 9
                                                                                               FORM 2
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-02332                                                                                          Trustee Name:                         Eva M. Lemeh
 Case Name:                       BRI BUSINESS SERVICES, INC.                                                                       Bank Name:                            PINNACLE BANK
Primary Taxpayer ID #:            **-***0748                                                                                        Money Market Acct #:                  ******0088
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:             3/9/2012                                                                                          Blanket bond (per case limit):        $12,500,000.00
For Period Ending:                4/2/2014                                                                                          Separate bond (if applicable):

       1                2                                 3                                           4                                                    5                  6                 7

   Transaction       Check /                         Paid to/               Description of Transaction                               Uniform           Deposit          Disbursement         Balance
      Date            Ref. #                      Received From                                                                     Tran Code            $                   $


11/29/2013           (INT)     Pinnacle                             Interest Posting                                                 1270-000              $30.90                              $256,629.03
12/31/2013           (INT)     Pinnacle                             Interest Posting                                                 1270-000              $33.75                              $256,662.78
01/20/2014           (INT)     PINNACLE BANK                        Account Closing Interest As Of 1/20/2014                         1270-000                  $0.11                           $256,662.89
01/20/2014                     Transfer To: #******0072             transfer to disburse funds pursuant to tfr                       9999-000                                $256,662.78                $0.11
01/20/2014                     Transfer To: #******0072                                                                              9999-000                                       $0.11               $0.00

                                                                                       TOTALS:                                                       $1,339,810.91         $1,339,810.91                $0.00
                                                                                           Less: Bank transfers/CDs                                  $1,324,320.05         $1,231,662.89
                                                                                       Subtotal                                                         $15,490.86           $108,148.02
                                                                                           Less: Payments to debtors                                         $0.00                 $0.00
                                                                                       Net                                                              $15,490.86           $108,148.02



                     For the period of 3/9/2012 to 4/2/2014                                                      For the entire history of the account between 01/20/2013 to 4/2/2014

                     Total Compensable Receipts:                      $15,490.86                                 Total Compensable Receipts:                                 $15,490.86
                     Total Non-Compensable Receipts:                       $0.00                                 Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                    $15,490.86                                 Total Comp/Non Comp Receipts:                               $15,490.86
                     Total Internal/Transfer Receipts:             $1,324,320.05                                 Total Internal/Transfer Receipts:                        $1,324,320.05


                     Total Compensable Disbursements:                $108,148.02                                 Total Compensable Disbursements:                          $108,148.02
                     Total Non-Compensable Disbursements:                  $0.00                                 Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:              $108,148.02                                 Total Comp/Non Comp Disbursements:                        $108,148.02
                     Total Internal/Transfer Disbursements:        $1,231,662.89                                 Total Internal/Transfer Disbursements:                  $1,231,662.89




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                                                                                            FORM 2
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         12-02332                                                                                  Trustee Name:                         Eva M. Lemeh
Case Name:                       BRI BUSINESS SERVICES, INC.                                                               Bank Name:                            PINNACLE BANK
Primary Taxpayer ID #:           **-***0748                                                                                Money Market Acct #:                  ******0088
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:
For Period Beginning:            3/9/2012                                                                                  Blanket bond (per case limit):        $12,500,000.00
For Period Ending:               4/2/2014                                                                                  Separate bond (if applicable):

      1                 2                                3                                         4                                              5                  6                7

  Transaction        Check /                         Paid to/              Description of Transaction                       Uniform            Deposit         Disbursement        Balance
     Date             Ref. #                      Received From                                                            Tran Code             $                  $




                                                                                                                                                                         NET          ACCOUNT
                                                                                     TOTAL - ALL ACCOUNTS                           NET DEPOSITS                    DISBURSE         BALANCES

                                                                                                                                            $1,340,680.16       $1,340,680.16                 $0.00




                     For the period of 3/9/2012 to 4/2/2014                                             For the entire history of the case between 08/23/2012 to 4/2/2014

                     Total Compensable Receipts:                   $1,340,680.16                        Total Compensable Receipts:                             $1,340,680.16
                     Total Non-Compensable Receipts:                       $0.00                        Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                 $1,340,680.16                        Total Comp/Non Comp Receipts:                           $1,340,680.16
                     Total Internal/Transfer Receipts:             $2,556,506.53                        Total Internal/Transfer Receipts:                       $2,556,506.53


                     Total Compensable Disbursements:              $1,340,680.16                        Total Compensable Disbursements:                        $1,340,680.16
                     Total Non-Compensable Disbursements:                  $0.00                        Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:            $1,340,680.16                        Total Comp/Non Comp Disbursements:                      $1,340,680.16
                     Total Internal/Transfer Disbursements:        $2,556,506.53                        Total Internal/Transfer Disbursements:                  $2,556,506.53




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